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AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations


                                       UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF CALIFORNIA
                UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                                                      (For Revocation of Probation or Supervised Release)
                                  V.                                  (For Offenses Committed On or After November 1, 1987)
                         KEVIN SOTO ( 1)
                                                                        Case Number:        3: l 7-CR-02628-LAB

                                                                     AdamKo         ekin
                                                                     Defendant's Attorney
REGISTRATION NO.                  63480-298
•-                                                                                                    MAY 2 5 2021
THE DEFENDANT:
[:gJ   admitted guilt to violation of allegation(s) No.     1, 2, 4, and 5.

D      was fouud guilty in violation of allegation(s) No.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                   Nature of Violation



            1                       Unlawful use of a controlled substance or Failure to Test; VCCA (Violent Crime Control Act)
            2                       Failure to participate in drug aftercare program
            4,5



     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     May 19 2021


                                                                     HON. illDG LARRY ALAN BURNS
                                                                     UNITED STATES DISTRICT JUDGE
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AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                KEVIN SOTO (I)                                                           Judgment - Page 2 of 2
CASE NUMBER:              3: 17-CR-02628-LAB

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Nine (9) months.




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




•      The defendant is remanded to the custody of the United States Marshal.

•      The defendant shall surrender to the United States Marshal for this district:
       •     at _ _ _ _ _ _ _ _ _ A.M.                        on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       •    as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
•     Prisons:
      •     on or before
      •     as notified by the United States Marshal.
      •     as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

      Defendant delivered on                                            to _ _ _ _ _ _ _ _ _ _ _ _ _ __

at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL




                                                                                                 3:17-CR-02628-LAB
